        Case 1:19-cv-11438-PBS Document 225 Filed 12/16/20 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

              Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
              Defendant,

   v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

             Defendant and Counterclaim
             Plaintiff.


    JOINT STIPULATION FOR FILING OF SECOND AMENDED COMPLAINT
         Case 1:19-cv-11438-PBS Document 225 Filed 12/16/20 Page 2 of 5




       WHEREAS on June 8, 2020, Plaintiff and Counterclaim Defendant Nuance

Communications, Inc. (“Nuance” or “Plaintiff”) filed a First Amended Complaint against

Defendant and Counterclaim Plaintiff Omilia Natural Language Solutions, Ltd. (“Omilia” or

“Defendant”) adding Counts IX-XIII based upon the Computer Fraud and Abuse Act, the

Copyright Act including the Digital Millennium Copyright Act, and the common law doctrines of

conversion, and trespass to chattels. Dkt. No. 102.

       WHEREAS Plaintiff noted in footnote 6 of its First Amended Complaint that a number of

Nuance’s copyright registration certificates were delayed due to pandemic-related process changes

at the U.S. Copyright Office.

       WHEREAS on June 29, 2020, Defendant moved to dismiss Counts IX-XIII of the First

Amended Complaint (Dkt. No. 120).

       WHEREAS the delayed copyright registration certificates issued on August 18, 2020, and

as soon as practicable, on August 19, 2020, Plaintiff contacted Defendant in writing to request its

consent to amend the First Amended Complaint solely to add the newly issued copyright certificate

numbers to Paragraph 41 of the First Amended Complaint.

       WHEREAS Defendant stated in writing on August 25, 2020, that it did not object to

Plaintiff’s proposal to amend the First Amended Complaint to add the additional copyright
certificate numbers.

       WHEREAS the parties agreed to inform the Court of the parties’ agreement and this

Stipulation at the hearing on Defendant’s motion to dismiss.

       WHEREAS during the hearing on Defendant’s motion to dismiss held on December 14,

2020, the Court stated that Plaintiff was permitted to amend the pleadings to assert infringement

pursuant to 35 U.S.C. § 271(g) with respect to the asserted patents.

       WHEREAS, while Omilia does not oppose the amendments, Omilia denies that there is

any basis for Nuance’s allegations of infringement under § 271(g) and for Nuance’s claims under

Counts IX-XIII of the First Amended Complaint.




                                                1
         Case 1:19-cv-11438-PBS Document 225 Filed 12/16/20 Page 3 of 5




       WHEREAS the parties agree that the Court’s Order on Defendant’s motion to dismiss

(Dkt. No. 120) will apply to the Second Amended Complaint because the First Amended

Complaint will be superseded by the operative Second Amended Complaint and the listing of

additional copyright registration numbers in Paragraph 41 as well as the added references to 35

U.S.C. § 271(g) in Paragraphs 70, 87, 102, 116, 130, 145, 159, and 175 do not affect any of the

arguments raised in Defendant’s motion to dismiss.

       WHEREAS a copy of Plaintiff’s proposed Second Amended Complaint is attached hereto

as Exhibit “A” adding the additional copyright registrations to the list in Paragraph 41 and adding

references to 35 U.S.C. § 271(g) in Paragraphs 70, 87, 102, 116, 130, 145, 159, and 175.

       IT IS HEREBY STIPULATED, by and between Plaintiff and Defendant, by and through

their respective counsel, that:

       1.      Plaintiff may file its Second Amended Complaint, a copy of which is attached

hereto as Exhibit “A.”

       2.      The parties’ prior briefing on Defendant’s motion to dismiss (Dkt. No. 120), and

the Court’s Order on Defendant’s motion to dismiss, will be deemed binding on the Second

Amended Complaint. For the avoidance of doubt, Omilia need not submit a separate motion to

dismiss the Second Amended Complaint, and Defendant’s answer to the Second Amended
Complaint will be held in abeyance (and Defendant need not answer or otherwise respond to the

Second Amended Complaint) pending the Court’s order on Defendant’s motion to dismiss.

Date: December 16, 2020                 Respectfully submitted,
                                       /s/ Christian E. Mammen
                                       WOMBLE BOND DICKINSON (US) LLP
                                       Christian E. Mammen (admitted pro hac vice)
                                       Carrie Richey (admitted pro hac vice)
                                       WOMBLE BOND DICKINSON (US) LLP
                                       1841 Page Mill Road, Suite 200,
                                       Palo Alto, CA 94304
                                       Telephone: (408) 341-3067
                                       Chris.Mammen@wbd-us.com
                                       Telephone: (408) 341-3060
                                       Carrie.Richey@wbd-us.com
                                        Attorneys for Plaintiff Nuance Communications, Inc.
                                                2
Case 1:19-cv-11438-PBS Document 225 Filed 12/16/20 Page 4 of 5




                       With Permission - /s/ Raj Gandesha
                       WHITE & CASE LLP
                       Raj Gandesha (admitted pro hac vice)
                       WHITE & CASE LLP
                       1221 Avenue of the Americas
                       New York, NY 10020-1095
                       (212) 819-8286
                       rgandesha@whitecase.com
                       Counsel for Defendant Omilia Natural Language
                       Solutions, Ltd.




                               3
         Case 1:19-cv-11438-PBS Document 225 Filed 12/16/20 Page 5 of 5




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

        I hereby certify that the Parties have previously conferred on August 19 through August

28, 2020, with respect to the stipulated terms herein.

                                              /s/ Christian E. Mammen
                                              Christian E. Mammen




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document and its exhibits attached thereto will be filed through

the ECF system and will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants following the parties’ hearing on Defendant’s motion to dismiss on December 16,

2020.

                                              /s/ Christian E. Mammen
                                              Christian E. Mammen




                                                 4
